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f * Case 3:18-cv-00408-R j oe
. RID Documentdaa Filed 02/18/18" Page yored Page
- ’ OFFENDER'S GRIEVANCE
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Dato: Offender: . (Di:
Q@-2oe-17 (Please Print} kent Stuvees Irs s7S
Present Facility: Law Ce. C.c. rey whore Grievance Lace rence_c Cc
NATURE OF GRIEVANCE: Z A
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0 Personal Property (1 Mail Handling LD Restoration of Good Time (1 ADA Cisability Accominadation
CO Staff Conduct CO Dietary (0 Medical Treatment CO HIPAS Ly ~ Qg0
(0 Transfer Denial by Facitity [] Transfer Deria! by Transfer Coordinator 0 Other tect ty
< ee
0 Disciplinary Report: { i __ Cea,
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Cate of Report _ J. G . Facility where isa Ce &

Note: Protective Custody Denlats may ba griaved immadiatély via ine local administration cn the protective custody status notification.

Complete: Attach a copy of any pertinent document {such asa Disciptinary Report, Shakedown Record, atc.) and send to:

Counsetor, untess the issue Involves disclpiine, is deemed an emergency, or is subject to direct review by the Administrativa Review Board.
Grievance Officer, only if the issue Invalves discipline at the present facility or Issue not resolved by Counsetor.

Chief Administrative Officer, only if EMERGENCY grievance.

Administrative Review Board, only if the issue involves transter denial by the Transfer Coordinater, protective custody, involuntary
administration of psychotropic drugs, issues from another facility except persona! property issues, or issues not resotved by the Chlef

Administrative Officer.

Summary of Grievance (Provids Information Inctuding a description of what happened, when end where It hsppaned, and the namo or [dentifying {information

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Check only if this Is an EMERGENCY grievance due to a substantial risk of imminent personal Injury or other serious or irreparable harm to self.

Hew ST Lx : , Ms 1378 Cy Ao; mi

Offender's Signature Date
(Continue on reverse side (f necessary)

 

 

 

| Counselor's Response (it applicable) |

Date 2
Received: l i Ae Send directly to Grievance Officer (1) Outsice Jurisdiction of this facility. Sand to
: : Administrative Review Board, P.O. Box 19277,
. . Springfield, IL 62784-9277
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Print Counselor's Name Counselor's Signature Date of Response
| EMERGENCY REVIEW |

Date

Received: t L ig this determined to be of an emergency nature? D Yes; expedite emergency grievance
CO No; an emergency fs not substantiated.
Offender should submit this grevance
in the namal manner. -

i ft
Chief Administrative Officer's Signature Date
Distribution: Master File; Offender . Page 1 BOC 0046 (8/2012)

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RIEVANCE (Continuea) 1

Case 3:18-cv-00408-RJD Document 18 File ORDERS et remand 64 Page ID #131 .

 

 

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[LuINcIg DEPARTMENT OF CORRECTIONS
Offender Request

Offender Name: kee unt SJvbbS ID #2251372 Living unit_72C— &!
Job Assignment: w1A- Shift. hel 4

Ploase refer to the directory located In your orientation manual! and address proper personnel.

Ta: UnzeAiced (Heowd) "Do ctor"

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Print Staff Namo Print Supervisor Name
Staff Signature Date Supervisor Signature Date
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‘ ILLINCcHS DEPARTMENT oP CORRECTIONS
. Offender Request .
Offender Name: kent StvbbSd ID #2451322 Living Unit_? © - Lf
Job Assignment: Via Shift: Vi A

 

 

Please refer to the directory located " your orientation manual and address proper personnel.

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Case 3:18-cv-00408-RJD, Document.4.3 Filed 02/15/18 Page 5 of 64 Page [eciareys \3

LUNDIS DEPAR
RESPONSE TO OFFENDER’S GRIEVANCE

 

Grievance Officer's Report

 

 

Date Received: 9-19-17 Date of Review: 11-29-17 Grievance # (optional) 09-17-90

 

 

Offender: STUBBS, KENT ID#: M51378

 

Nature of Grievance: MEDICAL TREATMENT

 

Facts Reviewed:

inmate Stubbs M51378 claims in a grievance dated 8/20/17 that on Friday, August 18, 2017 he was seen by two Physical
Therapists and one of them acted in a very careless & unprofessional manner causing him to hurt himself and leave
Healthcare in very severe pain.

Relief requested; “I am asking that | be sent to see a back specialist because my back pain has been going and | don't
feel like The care I'm getting is At all adiquate.”

Per 8-30-17 response from DON McFarland: Per chart review offender has been seen by physical therapy department
since 7-5-17, per P.T. no progression in decreasing pain and has had a decline in strength. He was discontinued from PT
on 8-18-17; he has been seen by M.D. on 8-29-17 with medication order for back pain.

 

Recommendation:

Based upon a total review of ail available information, this Grievance Officer recommends that the grievance be denied.
Inmate Stubbs M51378 is being treated by licensed physician. Inmate Stubbs M51378 is encouraged to follow the Nurse
Sick Procedure when he has Medical concerns.

JEFFREY STRUBHART CC Il

 

 

 

 

 

 

 

Print Gnevance Officer's Name hoe Officer's Signature
(Attach a copy of Offender's Gr 1 di ’s responslt applicabl
| Chief Administrative Officer's Response |
Date Received: IQ Y | | je | concur (1 1do not concur O Remand

Comments:

 

 

 

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Chief Aurtinstratve Officer's Signature . Date

 

 

| Offender's Appeal to the Director

 

lam appealing the Chief Administrative Officer's decision to the Director. | understand this appeal must be submitted within 30 days after the date of the
Chief Administrative Officer's decision to the Administrative Review Board, P.O. Box 19277, Springfield, I 62794-9277, (Attach a comptete copy of the
original grt 1h the s P if app and any fp )

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Offender's Signature (pe Date

 

 

Oistnbution = Master File; Offender Page 1 ODOC 0047 (Rev 3/2005)

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Case 3:18-cv-00408-RJD SE ilegAd2/15/18 Page 6 of 64 Page IDSs 3
G JUS John Baldwin

Bruce Rauner
Acting Director

Governor

 

The Illinois Department of Corrections

 

1301 Concordia Court. P.O. Box 19277 + Sprinafield. IL 62794-9277 + (217) 558-2200 TDD: (800) 526-0844

Offender: Stubbs, Kent 1/8/18
Date

ID# : M51378

Facility: Lawrence CC

This is in response to your grievance received on 12/27/17 . This office has determined the issue will be addressed
without a formal hearing. A review of the Grievance, Grievance Officer/CAO response to the grievance has been conducted. For a
grievance that is direct review by the ARB, a review of the Grievance has been conducted.

Your issue regarding: Grievance dated: 8/20/17 Grievance Number: 9-17-90 Griev Loc: Lawrence CC

Transfer denied by the Facility

Dietary

 

Personal Property

 

Mailroom/Publications

 

Assignment (job, cell)

 

Commissary / Trust Fund

 

Conditions (cell conditions, cleaning supplies, etc.)

 

OOddoao0oago go

Disciplinary Report: Dated: Incident #

 

Other Medical: physical therapist 8/18/17 +reatment for back pain

Based on a review of all available information, this office has determined your grievance to be:

 

CL] Affirmed, Warden ; is advised to L] Denied as the facility is following the procedures outlined in
provide aw ‘ten response of corrective action to this office by DR525.
(-] Denied as procedures were followed in accordance with DR
Denied, in accordance with DR504F, this is an administrative 420 for removal/denial of an offender from/for an assignment.
decisan: _] Denied as this office finds no violation of the offender's due
Denied, this office finds the issue was appropriately addressed process in accordance with DR504.80 and DR504.30. This
by the facility Administration. office is reasonably satisfied the offender committed the

offense cited in the report.
(] Other:

 

 

 

Q,_, f /
FOR THE BOARD: NIL A uh Ad A= CONCURRED: Wotan PK Zilhive, La

Sarah Johnson

 

Administrative Review Board Acting Director
CC: Warden, Lawrence Correctional Center
K. Stubbs , ID# M51378

 

John R. Baldwin iif

 

Mission: To serve justice in Illinois and increase public safety by promoting positive change in
offender behavior, operating successful reentry programs, and reducing victimization.

www. illinois.gov/idoc
 

 

“Case | 3:18-cv-00408-RJD Document1-3 Filed 02/15/18 Page 7 of 64 Page ane } - |
ILLINOIS DEPARTMENT OF CORRECTIONS [|
Administrative Review Board hy ./ ”
Return of Grievance or Correspondence

Cheb bs lant Mist37k

Offender:
Ml ID#

Last Name First Name

Facility: ( OL WW NL lk Y

i, thei f jj ul 7
| Grievance: Facility Grievance # (if applicabla) Dated: or {_] Correspondence: Dated:

Received: © | Regarding: ( Wiel A LL fit b_ Lp /p

Date

The attached grievance or correspondence is being returned for the following reasons: (Vk a {A (Cd ol Bel
Additional information required: J Pos ‘ WV/20

i Provide your original written Offender’s Grievance, DOC 0046, including the counselor's response, if applicable.
C)
C]

 

Provide a copy of the Response to Offender’s Grievance, DOC 0047, including the Grievance Officer's and Chief Administrative
Officer's response, to appeal; if timely.
Provide dates when incidents occurred.

Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached

grievance or correspondence with the additional information requested to: Administrative Review Board
Office of Inmate Issues

1301 Concordia Court, Springfield, IL_62794-9277

Misdirected: fev avree Sree of
Contact your correctional counselor or es regarding this issue. \ SH At MU— ;

Request restoration of Statutory Sentence Credits to Adjustment Committee. If the request is denied by the facility, utilize the
offender grievance process outlined in Department Rule 504 for further consideration.

 

 

 

[] Contact the Record Office with your request or to provide additional information.

(_] Personal property and medical issues are to be reviewed at your current facility prior to review by the Administrative Review
Board.

(] Address concerns in a letter to: Illinois Prisoner Review Board, 319 E. Madison St., Suite A, Springfield, IL 62706 |

 

No further redress:

C1 Award of Supplemental Sentence Credits are discretionary administrative decisions, therefore, this issue will not be addressed
further.
Administrative Transfer denials are discretionary administrative decisions; therefore, this issue will not be addressed further.

Not submitted in the timeframe outlined in Department Rule 504; therefore, this issue will not be addressed further.

Administrative Review Board received the appeal 30 days past date of Chief Administrative Officer's decision; therefore, this
issue will not be addressed further.

This office previously addressed this issue on
Date

No justification provided for additional consideration.

OO oo0

 

 

Other (specify):

 

 

 

 

 

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Completed by: Sarah Johnson ( f\) Vs AS
Print Name ~ Signature T Date
Distribution: Offender Printed on Recycled Paper DOC 0070 (Rev.5/2017)

Inmate Issues
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ILLINGIS DEPARTMENT OF CORRECTIONS

Offender Request
ID#MS137Z _ Living unit__7C - C/

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Shift; VILA

Offender Name:
Job Assignment: NM /4
Please refer to the directory located in your orientation manual and address proper personnel
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Remarks by staff (if necessary)

 

Print Supervisor jzifre 4 2017
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Print Staff Name
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Affected Unit REVIEW BOAR Ge ose (Rev. 4/2040)
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Present Facility: Facility where grievance '

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Disciplinary Rep

Note: Protective C

Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, etc.) and send to:

Counselor, unless the issue involves discipline, is deemed an emergency, or is subj ect review by the Administrative Review Board.
Grievance Officer, only if the issue involves discipline at the present facility or issde not reséived by Counselor.

Chief Administrative Officer, only if EMERGENCY grievance.
Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordinator, protective custody, involuntary
administration of psychotropic drugs, issues from another facility except personal property issues, or issues not resolved by the Chief
Administrative Officer.

Summary of Grievance (Provide Information including a description of what happened, when and where it happened, and the name or sere trina Information
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Counselor’s Response (if applicable)

 

 

 

 

Date

Received: / / C] Send directly to Grievance Officer L] Outside jurisdiction of this facility. Send to
Administrative Review Board, P.O. Box 19277,
Springfield, IL 62794-9277

Response:

 

 

 

 

 

 

 

 

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Print Counselor's Name Counselor's Signature Date of Response
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Case 3:18-cv-00408-RJD Document 1-3 Filed 02/15/18 Page 14 of 64 Page ID #143

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OFFENDER'S GRIEVANCE (Continued)

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Facility where grievance

 

 

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( Transfer Denial by Facility [9 es Denial by TN [J Other (specity:
[1] Disciplinary Report: ! ! C iN-

 

Date of Report

  
     

Note: Protective Custody Denials\may be grieve ia the acd dminjz

   

Complete: Attach a copy of any pertinent

Counselor, unless the issue involves discipline As deemed an emergency, ar is subject to direct review by the Administrative Review Board.
Grievance Officer, only if the issue invdlyes diScipline at the present facility or issue not tesalved by Counselor.
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Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordinator, protective custody, involuntary

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Summary of Grievance (Provide Information including a description of what happened, when and where It happened, and the name or Identifying information
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Check only if this is an EMERGENCY grievance due to a substantial risk of imminent purer injury or other serious or irreparable harm to self.

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Counselor’s Response (if applicable)

 

 

 

 

 

 

     

 

 

 

 

 

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ILLINGIS DEPARTMENT OF CORRECTIONS
OFFENDER'S GRIEVANCE (Continued)

 

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ILLINOIS DEPARTMENT OF CORRECTIONS
Offender Request
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Offender Name: Ke oe ID#S 5 US 7R Living Unit__2
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Offender Request
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Remarks by staff (if necessary) : Remarks by supervisor (if necessary) :

Print Staff Name Print Supervisor Name

Staff Signature ‘ Date Supervisor Signature Date
Distribution: Affected Unit DOC 0286 (Rev. 4/2010)

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ILLINOIS DEPARTMENT OF CORRECTIONS =) ved UY
Offender Request
Offender Name: Kent Stubbs ID#MMS(378 Living unit_7C - © [
Job Assignment: NM] las Shift: M/A

Please refer to the directory located in your orientation manual and address proper personnel.
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Case 3:18-cv-00408-RJD Document 1-3 Filed 02/15/18 Page 24 of 64 Page iDw1s9 2 A

ILLINOIS DEPARTMENT OF CORRECTIONS

 

 

 

 

 

 

 

OFFENDER'S GRIEVANCE
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Present Facility: Facility where grievance
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[] Personal Property [| Mail Handling [] Restoration of Good Time =] ADA Disability Accommodation
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(] Disciplinary Report: l /
Date of Report Facility where issued

Note: Protective Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, etc.) and send to:

Counselor, unless the issue involves discipline, is deemed an emergency, or is subject to direct review by the Administrative Review Board.
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Administrative Officer.

Summary of Grievance (Provide information including a description of what happened, when and where it happened, and the name or Identifying Information
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(] Check only if this is an EMERGENCY grievance due to a substantial risk of imminent personal injury or other serious or irreparable harm to self.

tht Kft. IMs!378 fo, 18 1,17

Offender's Signature ID# Date

 

(Continue on reverse side If necessary)

 

 

 

 

Counselor’s Response (if applicable)

 

Date

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Received: / l CJ Send directly to Grievance Officer ey Outside jurisdiction of this facility. Send to
Administrative Review Board, P.O. Box 19277,
Springfield, IL 62794-9277
Response:
/ /
Print Counselor's Name Counselor's Signature Date of Response
EMERGENCY REVIEW
Date
Received: / / Is this determined to be of an emergency nature? [] Yes; expedite emergency grievance
Ol No; an emergency is not substantiated.
Offender should submit this al
in the normal manner.
/ /
Chief Administrative Officer's Signature Date
Distribution: Master File; Offender Page 1 DOC 0046 (8/2012)

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Case 3:18-cv-00408-RJD Document1-3 Filed 02/15/18 Page 25 of 64. Page ID #154
ILLINOIS DEPARTMENT OF CORRECTIONS
OFFENDER'S GRIEVANCE (Continued)

 

 

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~—. ,Case 3:18-cv- 0408-RJD » Pocument 13 Filed 02/15/18 Page 26 of 64 Page ID 158
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Case 3:18-cv-00408-RJD Document 1-3 Filed 02/15/18 Page 28 of 64 page ID heey

ILLINOIS DEPARTMENT OF CORRECTIONS

 

Administrative Review Board ‘
CN Return of Grievance or Correspondence Pd CL O/
yO ' ‘
Offender: __ STU L h S — I rT MI i > 3 ! i
First Name

Last Name

— LawWalee

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Received: (W227) | ] regarding: LU i ( (KL f ] U( il Cj it fi am : / i 7 an \ Leh af

qv VAK US as Medic al

The attached grievance or correspondence is being returned for the following reasons: /|
|

Additional information required: +X Ny ig |

al written Offencler's Grievance, DOC 0046, including ihe counselor's response, If applicable. b mele

Provide a copy of the Response lo Offender's Grievance, DOC 0047, including the Grievance Officer’s and Chief Ad
Officer's response, to appeal, if timely. i

 

Facility: _ _

 

Dale

Provide your origin
ministrative
4

duUye

Provide dates when incidents occurred.

OO OO

Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached

grievance or correspondence with the additional information requested to: Administrative Review Board
Office of Inmate Issues

1301 Concordia Court, Springfield, IL 62794-9277 |

Misdirected:
5sue.

{-] Contact your correctional counselor or Field Services regarding this is

(1) Request restoration of Statutory Sentence Credits to Adjustment Committee, If the request is denied by the facility, utilize the

offender grievance process outlined in Department Rule 504 for further consideration,

(] Contact the Record Office with your request or to provide additional information.
re to be reviewed al your current facility prior to review by the Administr

 

(_] Personal property and medical issues a ative Review
Board.

(_] Address concerns ina letter to: Illinois Prisoner Review Board, 219 E. Madison St., Suite A, Springfield, IL 62706 |
No further redress:

(Cl Aware of Supplemental Sentence Credits are discretionary
further.

administrative decisions; therefore, this issue will not be addressed

[.) Administrative Transfer denials are discretionary administralive decisions; therefore, this issue will not be addressed further.

is issue will not be addressed further.

 

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Not submitted in the timeframe outlined in Department Rule 504; therefore, th

C] Administrative Review Board received the appeal 30 days past dale of Chiet Administrative Officer's decision; therefore, this

a issue will not be addressed further. . ; - k
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This office previously addressed this issue on 7 2g
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[) No justification provided for additional consideration. AVL naw)

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Chale 10] 301,

Signature

 

completed by: Sarah Johnson :
Print Name

Ystribution: Offender Printed on Reeyelad Paper Doc 0070 (Rev.5/2017)

Inmate Issues
 

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OFFENDER'S GRIEVANCE
BS , Cffender: ' ID#:
10 | 23 1? (Please Print} Ye wk Stybbs || WNSIZ7S
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NATURE OF GRIEVANCE: E AAS "PEID 10-4 Ay - Te
(1 Personal Property CO Mail Handling ‘C1 Restoration of Good Time =f ADA Disability Accommedation. ©
(Staff Conduct C1 Dietary - (1 Medical Treatment CO HIPAA. ae
C1 Transfer Denial by Facility (1) Transfer Denial by Transfer Coordinator ( Other tepocty: | _ .
(1 Disciplinary Report: ! i : me

Date of Report LE / Z: - 2, Facility where issued
nh - 1
Note: Protective Custody Denials may be grieved’ irfimediately uf tha tacal administration on the! protective custody status notification.

Completa: Attach a copy of any pertinent document {such asa Disciptinary Report, Shakedown ftecord, atc.) and send to:

Counselor, untess the issue involves discipline, Is deemed an emergency, oF is subject to direct review by the Administrative Review Board.
Grievance Officer, only if the issue-tnvalves discipilne-at the-present facllity-or- issue notresolved-by Counselor.-. - —- :

Chief Administrative Officer; only if EMERGENCY grievance. . :

Administrative Review Board, only ifthe issue involves transfer denial by the Transfer Coordinator, protective custody, involuntary
administration of psychotropic drugs, issues from another facility excspt persanal property issues, or issues not resolved by the Chief

 

Administrativa Officer.
Summary of Grievance (Provide cluding a descrip of what happenad, when and where It heppened, and the namo or identifying Information
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| Counselor's Response (if appilcabie) | '

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Date r{ : ,
Recalved: i i Bf Send directly to Grievance Officar [DD Gutsidg jurisdiction of this facility. Send to

Administrative Reviaw Board, P.O. Box 19277,
Springfield, IL 62764-9277

Response: Ogaden \\Ors N99 on won Kade In Ql Icey ans
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| EMERGENCY REVIEW }
Date
Received: /O1I7PS1TS? Is this determined to be of an emergency nature? DD Yes; expedite emergency grisvance
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Offender should submit this griavance
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Case 3:18-cv-00408-RJD spgcument 1-3 Filed 02/15/18 Page 30 off taPee ID #159

EPARTMENT OF CORRECTIONS
OFFENDER'S GRIEVANCE (Continued)

  

 

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Grievance Officer’s Report

 

 

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Date Received: 11/06/2017 Date of Review: - 11/20/2017 Grievance # (option: 11-17-43
Offender: STUBBS, KENT ID#: M51378
Nature of Grievance: ADA Disability

 

Facts Reviewed:

Offender STUBBS M51378 claims that he is in a wheelchair and is in need of an ADA W

Relief Requested; That I be assigned a pusher immediately to help relieve the pain on my
myself."

A review of the 10/23/17 grievance show that the grievant claims he relies on a wheelchai
requests have been sent to the LCC HCU in regards to an ADA Wheelchair Attendant. Gri
himself back and forth to Dietary causes his back pain to increase.

Adittionally, CCI Ulrich states, “Offender has been seen by MD, permit for ADA pusher
offender."

fheelchair Attendant.

back caused when i have to push

r to relieve back pain and multiple
evant claims that having to wheel

given. Placement will assign for

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Recommendation:
Based upon a total review of all available information, this Grievance Officer reco

mmends that the grievance be

MOOT. At the time of this review, the grieavant had already been assigned an ADA Attendant.

J. Garrett cc

Print Grievance Officer's Name

 

(Attach a capy of Offender's Grevance, Including counselor's respoase If sppitc:

ST Grievanes Officer's Signature

abte)

 

 

Chief Administrative Officer’s Response

 

 

Date Received:

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LW dd {7

Date

 

 

 

Chief Administrative Officer's Signature
| Offender's Appeal to the Director

I am appealing the Chief Administrative Officer's decision to the Director. [ understand this appeal must be submitted within 30 days after the date of the Chief

 

 

 

 

 

Fd PE ie ha EA et | eet.

ive Officer’s decision to the Admini ve Review Board, P.O. Box [9277, Springfield, IL 62794-9277, (Attach a complete copy of the ariginal grievance,
the for's resp if and any perti }
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df baat Sates MS A370 | 2 4t?
Offender's Signature IDs | Date
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i@fl 02/15/18 Page 32 0f 64 Page te: (SB
John Baldwin
Acting Director

Case 3:18-cv-00408-RJD Document

Bruce Rauner
Governor

   

The Illinois Department of Corrections

 

1301 Concordia Court. P.O. Box 19277 * Sprinafield. IL 62794-9277 + (217) 558-2200 TDD: (800) 526-0844

Offender: Stubbs, Kent 1/8/18
Date

ID#: M51378
Facility: Lawrence CC

This is in response to your grievance received on 12/18/17 . This office has determined the issue will be addressed
without a formal hearing. A review of the Grievance, Grievance Officer/CAO response to the grievance has been conducted. Fora
grievance that is direct review by the ARB, a review of the Grievance has been conducted.

Your issue regarding: Grievance dated: 10/23/17 Grievance Number: [1-17-43 Griev Loc: Lawrence CC

( Transfer denied by the Facility

[Dietary

 

Personal Property

 

Mailroom/Publications

 

Assignment (jab, cell)

 

Commissary / Trust Fund

 

Conditions (cell conditions, cleaning supplies, etc.)

 

OOdo0o0 0

Disciplinary Report: Dated: Incident #

 

{<] Other Medical/ADA: grieves he missed chow on 10/17/17 due to back pain and need for an ADA pusher

Based on a review of all available information, this office has determined your grievance to be:

 

C) Affirmed, Warden is advised to (1 Denied as the facility is following the procedures outlined in
provide a written response of corrective action to this office by DR525.
() Denied as procedures were followed in accordance with OR
[-] Denied, in accordance with DR504F, this is an administrative 420 for removal/denial of an offender from/for an assignment.
decision, [1 Denied as this office finds no violation of the offender's due
(] Denied, this office finds the issue was appropriately addressed process in accordance with DR504.80 and DR504.30. This
by the facility Administration. office is reasonably satisfied the offender committed the

offense cited in the report.

>] Other: Moot, per staff.a permit for an ADA pusher has been provided.

 

 

  
 

 

 

  

CO _ ff
FOR THE BOARD: ( AK i Meg -—— CONCURRED: . he gs
—— Sarah Johnson John R. Baldwin fv, Vylfh
Administrative Review Board Acting Director
CC: Warden, Lawrence Correctional Center
K. Stubbs , 1D# M51378

 

 

Mission: To serve justice in Illinois and increase public safety by promoting positive change in
offender behavior, operating successful reentry programs, and reducing victimization.

www. ilinois.gov/idoc
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Case 3:18-cv-00408-RID DOcunHWeIs HEARTHEEOF COREsHORS Page 33 of 64 Page Ib Hex
Offender Request

ffender Name: eet Sfv6b¢ ID #1225) 78 Living Unit__2¢-— </
Job Assignment: MLA. Shift: av [A-

 
  
 

Please refer to the directory located in your orientation manual and address proper personnel.

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request (J interview [| cell assignment [visit [J Trust Fund (1 purchase [J other (speci) barr Pan
Counte

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Offender's Signature Date
RO NOT WRITE BELOW THIS LINE
Remarks by staff (it necessary) : Remarks by supervisor (if necessary) :
Print Staff Name Print Supervisor Name
Staff Signature Date Supervisor Signature Date
Distribution: Affected Unit DOC 0286 (Rev. 4/2010)
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ba ce Parra. [bank Dav —
Wy Case 3:18-cv-00408-RJD DoculihWPit S&Pak THEN EF GOFRESTIPNS Page 35 of 64 Page iS) high o
Offender Request

Via Name: kewt Stubbs 1D #1751378 Living Unit__2C - & /

Job Assignment: NLA Shift,_ w/, A

7

 
 

Please refer to the directory located in your orientation manual and address proper personnel.

To: Heu A) = Cunningham 7 f- Alimed

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DO NOT WRITE BELOW THIS LINE
Remarks by staff (if necessary) : Remarks by supervisor (if necessary) :
Print Staff Name Print Supervisor Name
Staff Signature Date Supervisor Signature Date
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Case 3:18-cv-00408-RJD Document 1-3 Filed 02/15/18 Page 37 of 64 Page iva M6 - ® le CQ

Ww")

Cc 0g ILLINCIS DEPARTMENT OF CORRECTIONS

Offender Request
Offender Name: HL ihe HEL iD # W2S13 76 Living Unit___ 7_— & /

Job Assignment: fe Lf Shift: LY, LL

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ILLINOIS DEPARTMENT OF CORRECTIONS

 

 

 

 

 

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ILLINCIS DEPARTMENT OF CORRECTIONS
Offender Request

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Print Staff Name Print Supervisor Name

 

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SOURCES INCORPORATE O

  

October 24, 2017

Mr. Kent Stubbs #M51378
Lawrence Correctional Center
10930 Lawrence Road
Sumner, IL 62466

Subject: Your Recent Letter

Dear Mr. Stubbs:
We are in receipt of your recent letter dated October 1, 2017.

Please remember to follow the established sick call process and grievance procedure at the
facility to have your medical concerns addressed.

Please be assured that the medical staff at Lawrence Correctional Center is comprised
of qualified and dedicated professionals who are there to assist your medical needs.

Very truly yours,

Wexford Health Sources, Inc.
Risk Management Department

501 HOLIDAY DRIVE | FOSTER PLAZA FOUR | PITTSBURGH, PA 15220 [| P: 412-937-8590 | F: 412-937-8599 | WWW.WEXFORDHEALTH.COM

 

 
 

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RJD Document 1-3 Filed 02/15/18 Page 34 of 64 Page ID EX

ILLINCIS DEPARTMENT OF ECTIC!

OFFENDER'S GRIEVANCE 04-1) -O |

 

 

 

 

 

 

 

 

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NATURE OF GRIEVANCE:
C1 Personal Property CJ _Mail Handling ( Restoration of Good Time kt ADA Disability Accommedation
PX Staff Conduct O Cietary . SA Medical Treatment CO nipaa
(1 Transfer Denial by Facility [1 Transfer Oenial by Transfer Coordinator (] Other qspactyy
OC Oisciplinary Report: i i
, Date of Report . Facility where issued

Note: Protective Custody Denials may be griaved immediately via the tocal administration on the protective custody status notification.

Comptete: Attach a copy of any pertinent document (such as a Discipitnary Raport, Shakedown Record, etc.) and send to:

Counselor, unlass the issue involves discipline, is deemed an emergency, or is subject to direct review by the Administrative Reviaw Board.
Grievance Officer, only if the issue Involves discipline at the present facility or issue not resolved by Counselor.

Chief Administrative Officer, only if EMERGENCY grievance.

Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordinater, protective custody, Involuntary
administration of psychotropic drugs, issues from another facility except personal property issues, or issues not rescived by the Chief

 

Administrative Officer.
Summary of Griavance (Provide Information Including a description of what happened, when and whare {t happened, and the nama or Identifying Information
for esch p involved): “FeC Newel Atine -mnotins Khe De, tea To ek

 

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Offender's Signature (DF Date
(Continues on reverse side If necessary)

 

 

 

Counselor’s Response (iP ypplicabte) |

 

Date
Received:

 
 
  
    

Outside jurisdiction of this facility. Send to
Administrative Review Board, P.O. Box 19277,
Springfield, IL 62784-9277

 

 

 

 

 

 

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Print Counselor's Name Counsstor's Signature Date‘of Response
| EMERGENCY REVIEW |

Date
Received: t i Is this determined to ba of an emergancy nature? () Yes; expedite emergency grievance

 

(1 No; an emergency is not substantiated.
Offender should submit this grievance |
in the normal manner. wT

/ i
Chief Administrative Officer's Signature Date

 

 

Distribution: Master File; Offender Page 1 BOC 0046 (8/2012)
 

[LLINOIS DEPARTMENT OF CORRECTIONS

Case 3:18-cv-00408 GRERDDER'S GRIEVANCE {Gontifudd | 02/15/18 Page 55 of 64 Page ID #184

 

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ILLINGIS DEPARTMENT OF CORRECTIONS

Offender Request

Offender Name: V eve Sty bos ID #:/125/472 _ Living Unit: 2e~L [
Job Assignment: Ad; L& Shift: yV | A

Please refer to the directory located in your orientation manual and address proper personnel.
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Offender's Signature { Oaté
DO NOT WRITE BELOW THIS LINE
Remarks by staff (it necessary) : Remarks by supervisor (if necessary) :
Print Staff Name Print Supervisor Name
Staff Signature Date Supervisor Signature Date
Distribution: Affected Unit DOC 0286 (Rev. 4/2010)
Printed on Recycled Paper

ILLINOIS DEPARTMENT OF CORRECTIONS oe PAGE: 39
OFFENDER 360 e RUN DATE: 1/18/2018
GRADE DEMOTION NOTIFICATION Ss RUN TIME: 11:00:07 AM

OERRM178

&

AS OF DATE: 1/18/2018
INSTITUTION: LAWRENCE
IDOC# : M51378 NAME : KENT STUBBS LIVING UNIT ; LAW:LAW:R7:CL:01:01
DUE TO AN ADJUSTMENT COMMITTEE HEARING, YOU HAVE BEEN

DEMOTED TO B GRADE AS OF 1/9/2018, YOU WILL RETURN TO
A GRADE ON 4/9/2018.

GRADE DEMOTIONS ARE COMPUTED CONSECUTIVELY TO PRIOR
DEMOTIONS, WHEN APPLICABLE, INCLUDING DEMOTIONS RECEIVED
AT OTHER FACILITIES.

FROM: RECORDS OFFICE
Case 3:18-cv- -00408- RJD Document 1-3 Filed 02/15/18 Rage 58 of 64 Page ID #187
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ILLINOIS DEPARTMENT OF CORRECTIONS
Offender Request ;
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Job Assignment: NV f A Shift: Vv / &

 

 

Please refer to the directory located in your orientation manual and address proper personnel.

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Remarks by staff (if necessary) : Remarks by supervisor (if necessary) :

 

 

 

 

 

Print Staff Name

 

 

 

Print Supervisor Name
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Offender Request.
Offender Name: ewe Stubbs 1D #05137. Uving Unit, 2C- - Lt
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Please refer to the directory located in your orientation manual and address proper personnel.
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Case 3:18-cv-00408-RJD Document 1-3 Filed 02/15/18 Page 63 of 64 Page ID mde

Illinois Department of Corrections |
MEDICAL PERMIT

Lawrence Correctional Center

 

Offender Name: Ath LMA bs Yeon -.. Offender Number: /V\ — 5) [3 L g . Se een

 

 

 

 

 

 

 

  
 

 

 

 

 

 

 

 

 

 

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See start Date below. -
[_] Medical- __L] ADA [_] State Boots _
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Hearing Aid(s) No Gym/Yard
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Illinois Depattinent of Corrections:
MEDICAL PERMIT

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"Housing Unit: Fe fej.

   

Page 64 of 64 Page ID uta X “|

 

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: See start. Date below: wt

 

 

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